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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
 DUANE HUNT, on behalf of himself and
 those similarly situated,
 1233 America Rd
 Camden NJ 08104
                                           INDIVIDUAL AND COLLECTIVE
                Plaintiff,                 ACTION COMPLAINT

        v.                                         JURY DEMAND

 P & G TRADING COMPANY,
 2 Otto Street,
 Trenton, NJ, 08638

        and

 JOHN DOES 1-10.

                Defendants.

                INDIVIDUAL AND COLLECTIVE ACTION COMPLAINT

               Named Plaintiff Duane Hunt (hereinafter “Plaintiff”), on behalf of himself and

those similarly situated (hereinafter referred to as “Collective Plaintiffs”) by and through

undersigned counsel, hereby complains as follows against Defendant P & G Trading Company

and John Does 1-10 (hereinafter collectively referred to as “Defendants”).

                                       INTRODUCTION

       1.      Named Plaintiff has initiated the instant action to redress Defendants’ violations of

the Fair Labor Standards Act (“FLSA), the New Jersey Wage and Hour Law and the New Jersey

Wage Payment Law (hereinafter collectively referred to as “New Jersey Wage Laws”). Named

Plaintiff asserts that Defendants failed to pay Named Plaintiff and similarly situated the proper

overtime wages owed to them under the FLSA and the New Jersey Wage Laws. Thereafter,

Defendants fired Named Plaintiff in retaliation for his complaints of same.
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                                      JURISDICTION AND VENUE


           2.   The foregoing paragraphs are incorporated herein as if set forth in their entirety.

           3.   This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims herein arise under laws of the United States, the FLSA, 29

U.S.C. § 201 et seq. This Court has supplemental jurisdiction over Plaintiff’s state law claims

because those claims arise out of the same nucleus of operative fact as the FLSA claims.

           4.   This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this jurisdictional district are sufficient for the exercise

of jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice.

           5.   Venue is properly laid in this judicial district pursuant to 29 U.S.C. § § 1391(b)(1)

and (b)(2), because Defendants reside in and/or conduct business in this judicial district and

because a substantial part of the acts and/or omissions giving rise to the claims set forth herein

occurred in this judicial district.

                                              PARTIES

           6.   The foregoing paragraphs are incorporated herein as if set forth in full.

           7.   Named Plaintiff Duane Hunt is an adult individual who resides at the address set

forth in the caption.

           8.   “Collective Plaintiffs” refers to current and/or former employees of Defendant who

worked as a driver within the last three (3) years.

           9.   Defendant P & G Trading Company (hereinafter “Defendant Company”) is an

entity with an address as set forth above.
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        10.     Defendants John Doe 1 through John Doe 5 are presently unknown persons who,

directly or indirectly, directed, aided, abetted, and/or assisted with creating and/or executing the

policies and practices of Defendants which resulted in Defendants’ failing to pay Named Plaintiff

and Collective Plaintiffs all commissions earned pursuant to the NJWPL.

        11.     Defendants John Doe 6 through John Doe 10 are presently unknown persons who

had control over processing payroll regarding Named Plaintiff and Collective Plaintiffs.

        12.     At all times relevant herein, Defendants acted by and though their agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

        13.     The foregoing paragraphs are incorporated herein as if set forth in their entirety.

        14.     Named Plaintiff brings this actions for violations of the FLSA as individual action

and as a collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of

all persons who performed work as drivers for Defendants at any point from three (3) years prior

to the filing of the instant matter to the present who are or were subject to Defendants’ unlawful

pay practices and policies (the members of this putative class are referred to as “Collective

Plaintiffs”).

        15.     Named Plaintiffs and Collective Plaintiffs are similarly situated, have substantially

similar non-managerial job duties, have substantially similar pay provisions, and are all subject to

Defendants’ unlawful policies and practices as described herein.

        16.     There are numerous similarly situated current and former employees of Defendants

who were compensated improperly for overtime work in violation of the FLSA and who would
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benefit from the issuance of a Court Supervised Notice of the instant lawsuit and the opportunity

to join the present lawsuit.

       17.     Similarly situated employees are known to Defendants, are readily identifiable by

Defendants, and can be located through Defendants’ records.

       18.     Therefore, Named Plaintiffs should be permitted to bring this action as a collective

action for and on behalf of themselves and those employees similarly situated, pursuant to the

“opt-in” provisions of the FLSA, 29 U.S.C. § 216(b).

                                 FACTUAL BACKGROUND

       19.     Defendant Company is a seafood distributor.

       20.     Defendant Company is not a common carrier company.

       21.     From in or around December 2015 until in or around May 2019, Named Plaintiff

worked for Defendant Company as a driver.

       22.     Named Plaintiff’s duties included delivering Defendant Company’s seafood

products to Defendant’s customers throughout New Jersey, Pennsylvania, Maryland and

Delaware.

       23.     Named Plaintiff regularly worked for Defendants for over 40 hours, and also

operated a truck weighing 10,000 pounds or less to deliver Defendants’ products to its customers.

       24.     Defendants paid Named Plaintiff an hourly rate of $14.00.

       25.     Defendants pay records do not indicate any additional compensation for hours

worked beyond 40 per workweek.

       26.     Named Plaintiff did not have the authority to hire or fire employees of Defendants.

       27.     Named Plaintiff did not have the authority to schedule employees of Defendants.
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        28.     Named Plaintiff did not direct other employees of Defendant Company in their day

to day activities.

        29.     Accordingly, Named Plaintiff is, within the meaning of the FLSA and the NJWHL,

a non-exempt employee of Defendant.

        30.     Collective Plaintiffs duties include(ed) delivering Defendant’s products to

Defendant’s customers.

        31.     Collective Plaintiffs regularly worked for Defendants for over 40 hours, and also

operated a truck weighing 10,000 pounds or less to deliver Defendants’ products to its customers.

        32.     Collective Plaintiffs did not have authority to hire or fire employees of Defendants.

        33.     Collective Plaintiffs did not have authority to schedule employees of Defendants.

        34.     Collective Plaintiffs did not direct other employees of Defendant Company in their

day to day activities.

        35.     Accordingly, Collective Plaintiffs are, within the meaning of the FLSA and

NJWHL, non-exempt employees of Defendants.

        36.     Defendants failed to pay Named Plaintiff and Collective Plaintiffs at a rate of 1.5

times their regular rate of pay for each hour that they worked in excess of 40 hours in a workweek.

        37.     Throughout the course of his employment, Named Plaintiff regularly complained

to officers of Defendant Company regarding Defendants’ failure to provide proper overtime

compensation.

        38.     Most recently, in or around late April 2019, Named Plaintiff advised owner Michael

Shivers that he believed Defendants’ lack of providing proper overtime compensation constituted

“illegal pay practices.”

        39.     Named Plaintiff was a conscientious objector to Defendant’s unlawful conduct.
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       40.     On or about May 2, 2019, Defendants fired Plaintiff.

       41.     Defendants alleged it was firing Named Plaintiff based on an unfounded accusation

from a coworker that Named Plaintiff made derogatory comments about Defendants.

       42.     Defendants’ stated reason for its termination of Plaintiff is pretextual

       43.     In fact, Defendants fired Plaintiff because of his complaints regarding Defendants’

failure to pay overtime.

       44.     As a result of Defendants’ aforesaid illegal actions, Named Plaintiff and Collective

Plaintiffs have suffered damages.

                                           COUNT I
                      Violations of the Fair Labor Standards Act (FLSA)
                       (Failure to Pay Proper Overtime Compensation)

       45.     The foregoing paragraphs are incorporated herein as if set forth in full.

       46.     At all times relevant herein, Defendants were and continue to be “employers”

within the meaning of the FLSA.

       47.     At all times relevant herein, Defendants are/were responsible for paying wages to

Named Plaintiff and Collective Plaintiffs.

       48.     At all times relevant herein, Named Plaintiff and Collective Plaintiffs were/are

employed with Defendants as “employees” within the meaning of the FLSA.

       49.     Under the FLSA, an employer must pay an employee at least one and one half

times his or her regular rate of pay for each hour worked in excess of forty hours per workweek.

       50.     Defendants’ violations of the FLSA include, but are not limited to, not paying

Named Plaintiff and Collective Plaintiffs at least 1.5 times their regular rate of pay for all hours

worked in excess of forty per workweek as explained supra.
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       51.     Defendants’ conduct in failing to properly pay Named Plaintiff and Collective

Plaintiffs was/is willful and was/is not based upon any reasonable interpretation of the law.

       52.     Defendants’ conduct caused Named Plaintiff and Collective Plaintiffs to suffer

damages.

                                          COUNT II
                      Violations of the New Jersey Wage and Hour Law
                          (Failure to pay Overtime Compensation)

       53.     The foregoing paragraphs are incorporated herein as if set forth in full.

       54.     At all times relevant herein, Defendants have and continue to be “employers”

within the meaning of the New Jersey Wage and Hour Law.

       55.     At all times relevant herein, Defendants were/are responsible for paying wages to

Named Plaintiff and Collective Plaintiffs.

       56.     At all times relevant herein, Named Plaintiff and Collective Plaintiffs were/are

employed with Defendants as “employees” within the meaning of the New Jersey Wage Laws.

       57.     Under the New Jersey Wage Laws, an employer must pay an employee at least

one and one half times his or her regular rate of pay for each hour worked in excess of forty

hours per workweek.

       58.     Defendants’ conduct in failing to pay Named Plaintiff and Collective Plaintiffs

proper overtime compensation for all hours worked beyond 40 per workweek violated the New

Jersey Wage and Hour Law.

       59.     Defendants’ conduct in failing to properly pay Named Plaintiff and Collective

Plaintiffs was/is willful and was/is not based upon any reasonable interpretation of the law.

       60.     Defendants’ conduct caused Named Plaintiff and Collective Plaintiffs to suffer

damages.
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                                          COUNT III
                       Violations of the New Jersey Wage Payment Law
                                (Failure to Pay Wages Earned)

       61.      The foregoing paragraphs are incorporated herein as if set forth in full.

       62.      Defendants’ conduct in failing to pay Named Plaintiff and Collective Plaintiffs all

wages earned violated the New Jersey Wage Payment Law.

       63.      Defendants’ conduct caused Named Plaintiff and Collective Plaintiffs to suffer

damages.

                                            COUNT IV
                           Violations of the Fair Labor Standards Act
                                           (Retaliation)

       64.      The foregoing paragraphs are incorporated herein as if set forth in full.

       65.      Named Plaintiff’s complaints to the officers of Defendant Company regarding

Defendants’ failure to provide proper overtime compensation constitutes a protected activity

within the meaning of the FLSA.

       66.      Defendant terminated Named Plaintiff because of his complaints of FLSA

violations.

       67.      The aforementioned conduct of Defendants is in violation of the FLSA

       68.      Defendants’ conduct caused Named Plaintiff to suffer damages.

                                          COUNT V
              Violation of the New Jersey Conscientious Employee Protection Act

       69.      The foregoing paragraphs are incorporated herein as if set forth in full.

       70.      Plaintiff engaged in a protected activity within the meaning of CEPA when he

complained about an activity that he reasonably believed to be an unlawful violation of the law.

       71.      Defendants’ termination of Plaintiff’s employment for engaging in the

aforementioned protected activity constitutes a violation of CEPA.
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       72.     Defendants’ conduct caused Named Plaintiff to suffer damages.

       WHEREFORE, Named Plaintiff and Collective Plaintiffs pray that this Court enter an

Order providing that:

       A.      Defendants are to be prohibited from continuing to maintain its illegal policy,

practice or custom in violation of federal and state law;

       B.      Defendants are to compensate, reimburse, and make Named Plaintiff and Collective

and Plaintiffs whole for any and all pay and benefits they would have received had it not been for

Defendants’ illegal actions;

       C.      Named Plaintiff and Collective and Plaintiffs are to be awarded liquidated damages

for Defendants’ illegal actions, as provided under applicable law;

       D.      Named Plaintiff and Collective and Plaintiffs are to be awarded the costs and

expenses of this action and reasonable legal fees as provided under applicable law;

       E.      Named Plaintiff and Collective and Plaintiffs are to be awarded any and all other

equitable and legal relief as the Court deems appropriate.


                                                      Respectfully Submitted,

                                                      /s/ Manali Arora
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Dated: June 12, 2019
